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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

LIONELL MARTIN,
                                                   Case No. 16-CV-10151
                Plaintiff,
                                                   Hon. Charles R. Norgle, Sr.
        v.

EXPERIAN INFORMATION SOLUTIONS,
INC.,

                Defendant.



                                 NOTICE OF SETTLEMENT

        Experian Information Solutions, Inc. hereby notifies the Court that the parties have

reached a settlement agreement. Plaintiff has indicated that he will file the appropriate dismissal

filing in the near future.



Dated: February 28, 2017                         Respectfully submitted,



                                                 s/ Christopher A. Hall
                                                 Christopher A. Hall (6316715)
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                                                 Counsel for Defendant Experian Information
                                                 Solutions, Inc.
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                              CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was filed using the CM/ECF system, which
will effectuate service on all parties and counsel of record.


                                              /s/ Christopher A. Hall
